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                                           No. 24-1739

         UNITED STATES COURT OF APPEALS FOR THE FIRST CIRCUIT

            ST. DOMINIC ACADEMY, d/b/a Roman Catholic Bishop of Portland,
         a corporation sole; ROMAN CATHOLIC BISHOP OF PORTLAND; KEITH
      RADONIS, on their own behalf and as next friend of children K.Q.R., L.R.R., and
       L.T.R.; VALORI RADONIS, on their own behalf and as next friend of children
                                  K.Q.R., L.R.R., and L.T.R.,
                                      Plaintiffs-Appellants,
                                                 v.
          A. PENDER MAKIN, in their personal capacity and official capacity as the
       Commissioner of the Maine Department of Education; JEFFERSON ASHBY, in
        their personal capacity and official capacity as the Commissioner of the Maine
        Human Rights Commission; EDWARD DAVID, in their personal capacity and
       official capacity as the Commissioner of the Maine Human Rights Commission;
         JULIE ANN O'BRIEN, in their personal capacity and official capacity as the
       Commissioner of the Maine Human Rights Commission; MARK WALKER, in
        their personal capacity and official capacity as the Commissioner of the Maine
      Human Rights Commission; THOMAS L. DOUGLAS, in their personal capacity
            and official capacity as the Commissioner of the Maine Human Rights
                                          Commission,
                                     Defendants-Appellees.

           On Appeal from the United States District Court for the District of Maine
                              (Case No. 2:23-cv-00246-JAW)

       BRIEF OF GLBTQ LEGAL ADVOCATES & DEFENDERS AND LAMBDA
        LEGAL DEFENSE AND EDUCATION FUND, INC. AS AMICI CURIAE
          SUPPORTING DEFENDANTS-APPELLEES AND AFFIRMANCE
      GARY D. BUSECK                                  KAREN L. LOEWY
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                 RULE 26.1 CORPORATE DISCLOSURE STATEMENT

            Amici curiae are nonprofit entities operating under § 501(c)(3) of the

      Internal Revenue Code. Amici are not subsidiaries or affiliates of any publicly

      owned corporations and do not issue shares of stock. No publicly held corporation

      has a direct financial interest in the outcome of this litigation due to amici’s

      participation.




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                              INTEREST OF AMICI CURIAE 1
            Amicus curiae GLBTQ Legal Advocates & Defenders (GLAD Law) is New

      England’s leading public interest legal organization dedicated to creating a just

      society free of discrimination based on gender identity and expression, HIV status,

      and sexual orientation. GLAD Law’s federal court litigation to advance the rights

      of LGBTQ people and people living with HIV includes Obergefell v. Hodges, 576

      U.S. 644 (2015); Bragdon v. Abbott, 524 U.S. 624 (1998); Gill v. Office of Pers.

      Mgmt., 682 F.3d 1 (1st Cir. 2012); Rosa v. Park W. Bank, 214 F.3d 213 (1st Cir.

      2000); Abbott v. Bragdon, 107 F.3d 934 (1st Cir. 1997); and Brown v. Hot Sexy, &

      Safer Prods., Inc., 68 F.3d 525 (1st Cir. 1995). GLAD Law also advocates for

      strong, safe and positive school environments to advance student learning and

      well-being. Regionally, GLAD Law has represented parties in, e.g., Doe v. RSU

      26, 2014 ME 11; Doe v. Brockton Sch. Comm., No. 2000-J-638, 2000 Mass. App.

      LEXIS 1128 (Nov. 30, 2000); Walker v. Merrimack Sch. Dist., No. 1:96-cv-87

      (D.N.H. dismissed Jun. 17, 1996); and Hot, Sexy & Safer Prods., and amicus in,

      e.g., Doe v. Manchester Sch. Dist., 2024 NH 48; L.M. v. Town of Middleborough,



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        The parties have consented to the filing of this amicus curiae brief. Amici confirm
      that no party or counsel for any party authored this brief in whole or in part; that no
      party or counsel for any party contributed any money to fund the preparation or
      submission of this brief; and that no person other than amici or their counsel made
      any monetary contribution intended to fund the preparation or submission of this
      brief. See Fed. R. App. P. 29(a)(4)(E); Local Rule 29(a)(2).

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      103 F.4th 854 (1st Cir. 2024); Foote v. Town of Ludlow, No. 22-30041, 2022 U.S.

      Dist. LEXIS 236102 (D. Mass. Dec. 14, 2022), appeal docketed, No. 23-1069 (1st

      Cir. argued Sep. 13, 2023); Doe v. Hopkinton Pub. Schs., 19 F.4th 493 (1st Cir.

      2021); and Parker v. Hurley, 514 F.3d 87 (1st Cir. 2008).

            Lambda Legal Defense and Education Fund, Inc. (“Lambda Legal”) is

      the nation’s oldest and largest legal organization working for the full civil rights of

      lesbian, gay, bisexual, and transgender people and everyone living with HIV

      through impact litigation, education, and policy advocacy. See, e.g., Obergefell v.

      Hodges, 576 U.S. 644 (2015); Lawrence v. Texas, 539 U.S. 558 (2003); Romer v.

      Evans, 517 U.S. 620 (1996). Throughout its history, Lambda Legal has worked to

      ensure that students are not deprived of equal educational opportunity as a result of

      discrimination because of their sexual orientation or transgender status. See, e.g.,

      B.P.J. by Jackson v. W. Virginia State Bd. of Educ., 98 F.4th 542 (4th Cir. 2024);

      Adams by & through Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791 (11th Cir.

      2022); Nabozny v. Podlesny, 92 F.3d 446 (7th Cir. 1996). Lambda Legal has also

      participated in numerous cases involving claims that generally applicable

      antidiscrimination requirements, including those applicable to recipients of

      government money, infringe First Amendment rights. See, e.g., 303 Creative, LLC

      v. Elenis, 600 U.S. 570 (2023); Fulton v. City of Philadelphia, Pa., 593 U.S. 522

      (2021); Masterpiece Cakeshop, Ltd. v. Colo. Civ. Rts. Comm’n, 584 U.S. 617


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       (2018); Rogers v. McMaster, 696 F. Supp. 3d 193 (D.S.C. 2023); Marouf v. Azar,

       391 F. Supp. 3d 23 (D.D.C. 2019).

             Amici curiae have a strong interest in the robust and consistent application

       of nondiscrimination protections to ensure that LGBTQ young people can learn

       and grow freely and equally in publicly funded educational settings. This includes

       when private schools are being funded by taxpayer dollars to fulfill the state’s

       promise of public education. Amici offer their expertise to the Court to underscore

       the importance and neutrality of ensuring nondiscrimination in education and to

       highlight the unique vulnerability of LGBTQ students to discrimination and

       harassment, which laws like the Maine Human Rights Act were designed to

       prevent and redress.

                 BACKGROUND AND SUMMARY OF THE ARGUMENT
             For students in towns that do not have a public school available for its

       residents to attend, Maine established a program permitting families to pay for an

       approved public or private school with town tuition dollars. See 20-A M.R.S. §§

       5203(4); 5204(4) (hereafter, “tuitioning program”). The Maine Human Rights Act,

       5 M.R.S. § 4551 et seq. (“MHRA”), prohibits schools receiving those tuition

       dollars from discriminating on the basis of sex, sexual orientation or gender

       identity, physical or mental disability, ancestry, national origin, race, color or

       religion, including by denying a student admission, excluding a student from


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       programs or activities, or subjecting a student to harassment. 5 M.R.S. §§ 4553;

       4602.

               Appellants challenge the MHRA’s nondiscrimination requirements, claiming

       that they run afoul of the Supreme Court’s opinion in Carson v. Makin, 596 U.S.

       767 (2022). Yet neither Appellants nor their amici curiae can explain how the

       MHRA, which applies evenhandedly to all Maine K-12 schools receiving public

       funds—whether secular or religious—amounts to a targeted exclusion of sectarian

       schools from the tuitioning program. That is because it does not. That a

       nondiscrimination law may impact religious exercise does not transform the law

       into an exclusion based on religious exercise triggering strict scrutiny. On the

       contrary, the MHRA is a neutral law of general applicability, and under the binding

       precedent of Employment Division, Dep’t of Human Resources of Oregon v. Smith,

       494 U.S. 872 (1990), only warrants rational basis review, which it easily survives.

                Even if the Court were to subject the MHRA to strict scrutiny, however, it

       could withstand that level of review as well. The MHRA’s nondiscrimination

       requirements for schools participating in the tuitioning program further multiple

       compelling governmental interests. First, they are justified by Maine’s interest in

       shielding LGBTQ students from discrimination that deprives them of equal

       educational opportunity, particularly given its prevalence and harm. Second, they

       further Maine’s constitutional commitment to providing free public education to all


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       of Maine’s students. Finally, they further Maine’s Equal Protection obligations not

       to fund or facilitate private discrimination against a class of students. Enforcing

       these requirements is the most narrowly tailored way to fulfill the state’s

       commitment to providing K-12 students throughout Maine with publicly funded,

       nondiscriminatory education.

                                           ARGUMENT
       I.    THE SUPREME COURT’S DECISION IN CARSON V. MAKIN
             NEITHER CONTROLS THIS CASE NOR DICTATES THE
             AUTOMATIC APPLICATION OF STRICT SCRUTINY.
             Appellants assert, in rather summary fashion, that Carson v. Makin, 596 U.S.

       767 (2022), controls this case and requires a ruling in their favor. Appellants’ Br.

       at 20-21. At the same time, one of their amici briefs argues that the “Carson

       principle” itself requires strict scrutiny in this case.

             The district court’s Smith analysis was superfluous, and the court erred
             by suggesting that St. Dominic’s exclusion based on religious exercise
             was not itself sufficient to trigger strict scrutiny.

       Br. of Assoc. of Christian Schools Int’l, et al., at 5 (hereinafter “ACSI Brief”).

             Neither argument has any merit, as each seeks to transform any law with any

       impact on religious exercise into a targeting of that exercise. Neither Carson itself

       nor any of the other cases they cite requires this outcome, which would directly

       violate the binding authority of Smith. These arguments deliberately conflate the

       effect of the MHRA’s neutral and generally applicable requirements on Appellants


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       with a purpose of religious exclusion in an attempt to evade the relevant analysis

       under Smith. The MHRA ensures that all K-12 schools in the state that participate

       in the tuitioning program are subject to the exact same nondiscrimination

       requirements. See Appellees’ Br. at 34-38. As such, rational basis review is all

       that is required, which the MHRA easily survives.

             A.     The Supreme Court’s Free Exercise Cases Require Strict Scrutiny
                    for Targeted Exclusions of Religious Entities and Thus Do Not
                    Apply to the MHRA.

             Appellants and their amici curiae distort the implications of the Supreme

       Court’s Free Exercise case law by characterizing the MHRA as singling out

       religious schools for disfavored status. But the laws at issue in the cases cited by

       Appellants and their amici differ significantly from a broad nondiscrimination

       requirement that applies to every participant in a program that receives state

       funding.

             Trinity Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 449 (2017),

       involved a church that applied for a state grant, available to “qualifying nonprofit

       organizations,” to assist with the cost of resurfacing a playground. Id. at 453-454.

       Grants were not available to all applicants because of limited resources and,

       therefore, applicants were scored on a number of criteria. Id. at 455. Although

       Trinity Lutheran ranked fifth among 44 applicants, it was deemed “categorically

       ineligible” because it was a church. Id. at 456. In ruling in favor of Trinity


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       Lutheran, the Court found that “[t]he Department’s policy expressly discriminates

       against otherwise eligible recipients by disqualifying them from a public benefit

       solely because of their religious character” (emphasis added). Id. at 462. Put

       another way, though the Court expressly declined to address “religious uses of

       funding or other forms of discrimination,” the Court stated, “The rule is simple: No

       churches need apply.” Id. at 465, n.3.

             Three years later, in Espinoza v. Mont. Dep’t of Revenue, 591 U.S. 464

       (2020), the Court considered a state program of tuition assistance to parents

       sending their children to private schools. Id. at 467-468. The tuition assistance

       was available to any “‘qualified education provider’ – that is, any private school

       that meets certain accreditation, testing and safety requirements.” Id. at 469.

       Three parents, whose children attended a private religious school that met the

       state’s qualifications, were nonetheless denied that state scholarship funds because

       use of the funds was prohibited to any school “owned or controlled in whole or in

       part by any church, religious sect, or denomination.” Id. at 470. In short, the

       Montana constitution’s “no-aid” provision expressly excluded any church-owned

       school.

             In finding a Free Exercise Clause violation, the Court noted that religious

       schools were barred “from public benefits solely because of the religious character

       of the schools,” something “apparent from the plain text” of the constitutional


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       provision as well as its title— “Aid prohibited to sectarian schools.” Id. at 476.

       The Court applied a “straightforward rule”: “When otherwise eligible recipients

       are disqualified from a public benefit ‘solely because of their religious character,’

       we must apply strict scrutiny,” quoting Trinity Lutheran, 582 U.S. at 462 (emphasis

       added). Espinoza, 591 U.S. at 484.

             Following on and applying Trinity Lutheran and Espinoza, the Court

       decided Carson, 596 U.S. 767, which addressed a wholly different iteration of the

       Maine tuition assistance program currently before this court. In Carson, the Court

       considered a program that provided tuition assistance to “approved” private

       schools that met certain eligibility requirements “so long as they are

       ‘nonsectarian’.’’ Id. at 773-74. The “nonsectarian” requirement focused on what a

       school taught. Affiliation with a church or religious institution was not dispositive

       on the question. Id. at 775. The plaintiffs in Carson sent their children to schools

       that were accredited and approved for attendance purposes by the state. Id. at 776.

       However, because they were “sectarian,” neither was eligible to receive tuition

       payments. Id.

             This Court upheld that program, distinguishing Espinoza on the grounds that

       the Maine program looked to religious use and not religious status and that Maine’s

       goal was to provide an equivalent to a secular public education. See generally




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       Carson v. Makin, 979 F.3d 21 (1st Cir. 2020). The Supreme Court disagreed,

       rejecting the use versus status distinction and stating:

             The “unremarkable” principles applied in Trinity Lutheran and
             Espinoza suffice to resolve this case. Maine offers its citizens a benefit:
             tuition assistance payments for any family whose school district does
             not provide a public secondary school. Just like the wide range of
             nonprofit organizations eligible to receive playground resurfacing
             grants in Trinity Lutheran, a wide range of private schools are eligible
             to receive Maine tuition assistance payments here. And like the daycare
             center in Trinity Lutheran, [the two school here] are disqualified from
             this generally available benefit “solely because of their religious
             character.”
       Carson, 596 U.S. at 780 (quoting Trinity Lutheran).

             Referring to Espinoza, the Court noted:

             There, as here, we considered a state benefit program under which
             public funds flow to support tuition payments at private schools. And
             there, as here, that program specifically carved out private religious
             schools from those eligible to receive funds. While the wording of the
             Montana and Maine provisions is different, their effect is the same: to
             “disqualify some private schools” from funding “solely because they
             are religious.”
       Carson, 596 U.S. at 780 (quoting Espinoza).

             In short, Carson ended up as a straightforward application of Trinity

       Lutheran and Espinoza: if you are otherwise eligible for a public benefit, you

       cannot be expressly and categorically excluded from that benefit solely because

       you are a religious entity.

             Quite obviously, the current Maine program makes no such express or

       categorical exclusion of any religious schools, having come into full compliance

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       with the Supreme Court’s holding in Carson.2 Thus, Carson is in no way

       determinative of this case.

             B.     Appellants Misperceive the Meaning of Carson.

             Appellants make a brief argument about Carson. (Appellants’ Br. at. 20-21).

       While properly noting its holding—“that religious organizations may not be

       ‘disqualified from [a] generally available benefit “solely because of their religious

       character,”’”—id. at 20 (quoting Carson, 569 U.S. at 780), the remainder of their

       argument neglects to identify any way that the MHRA fails this test. First, they

       note the unexceptional proposition that Carson rejected the status/use distinction.

       Id. They fail to indicate how the MHRA turns on either status or use, however, as


       2
        Appellants’ attempts to portray amendments to the MHRA as a targeted exclusion
       of schools based on their religious expression ignore their stated purpose and
       context within the larger statute. Maine enacted two extensive laws in 2019 to
       clarify and update its provisions in the Human Rights Act and improve its
       administration. Among other things, Public Laws 2019, ch. 464, “An Act To
       Clarify Various Provisions of the Maine Human Rights Act,” added a definition of
       “gender identity,” § 1(5-C). It also retained the pre-existing exemption from
       Human Rights Act compliance in employment, housing and education for “a
       religious corporation, association or organization that does not receive public
       funds.” Ch. 464, § 1(10)(G).
              A bill to fill gaps and improve consistency, including for protected classes,
       did not move forward in 2019-20, but a largely similar version was later enacted,
       entitled “An Act to Improve Consistency in Terminology and within the Maine
       Human Rights Act.” Public Laws 2021, ch. 366. Among the gaps filled was a
       provision addressing application of the Human Rights Act, which clarified that all
       K-12 schools in Maine receiving public funds were subject to its requirements,
       notwithstanding their status as public or private, religious or secular. Pub. L. 2021,
       ch. 366, § 19(5)(C). See Appellees’ Br. at 10-12.

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       they make no case that Maine is excluding any schools from its tuitioning program

       because they provide a religious education. And, indeed, they could not.

             Rather, Appellants pivot to a question of entanglement, citing Carson for the

       proposition that any attempt to enforce a religious use restriction would raise

       entanglement concerns. Id. Again, unexceptional and irrelevant to the present case

       where Maine makes no effort any longer to exclude sectarian schools, and instead

       applies uniform requirements to all participants in the tuitioning program.

             Finally, Appellants then conjure up a hypothetical that, with tuition funding,

       Maine would gain “broad entangling authority over its religious policies.” Id. at

       21. Frankly, this is pure fantasy. What accepting tuition funding entails is being

       required to comply with the MHRA with respect to educational opportunity. 5

       M.R.S. §4602. That means nothing if a school remains in compliance with the law.

       And if, hypothetically, a future claim were asserted against the school for a

       violation of 5 M.R.S. §4602, the school would be free to raise any constitutional

       concerns they might have regarding the circumstances of that claim and would

       have available whatever defenses theoretically exist. However, nothing in that

       scenario conjures up a current Free Exercise violation under the teaching of

       Carson.

             C.     The Amici Engage in Serious Overreach in a Bald Attempt to
                    Avoid and Undermine Smith.
             As noted above, the ACSI amicus brief asserts that Carson directs this court

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       to apply strict scrutiny without any application of Smith’s neutrality and general

       applicability criteria because “St. Dominic’s exclusion [was] based on religious

       exercise [and] was [ ] itself sufficient to trigger strict scrutiny.” ACSI Brief, at 5.

       This assertion mischaracterizes both the facts of this case and the law.

             At the outset, several things are worth noting. As a factual matter, St.

       Dominic has not applied for the Maine tuitioning program and, thus, has not been

       excluded. Its self-assessment that it is not otherwise eligible for the tuition program

       cannot be attributed to the state. See Appellees’ Br. at 23-25. As a legal matter,

       nothing in Maine law expressly excluded St. Dominic—or any religious school in

       Maine—from the tuitioning program because of their exercise of religion, which is

       the only thing directly prohibited by Carson.

             Further, as the Supreme Court recognized in Trinity Lutheran, Espinoza and

       Carson, public benefit programs can maintain eligibility criteria for inclusion and

       participation. That is precisely the role the MHRA plays here. Maine applies the

       MHRA’s nondiscrimination requirement across the board to every K-12 school in

       the state that receives taxpayer funding. It does not single out anyone—religious

       or otherwise—for disfavored treatment. Trinity Lutheran, 582 U.S. at 460-61. It

       creates no “‘special disabilities on the basis of religious views or religious status.’”

       Id. (quoting Smith, 494 U.S. at 877). Simply put, the eligibility requirement of

       compliance with the Maine Human Rights Act is strictly education-driven and not


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       religion-driven. And Maine is certainly in compliance with Carson with this

       requirement.

             Nonetheless, ACSI asserts that the Maine Human Rights Act triggers strict

       scrutiny without further analysis, i.e., without applying Smith, “by excluding St.

       Dominic from the tuitioning program based on its religious exercise.” They

       explicitly state that it does not matter whether a provision even mentions religion

       and argue that strict scrutiny applies any time a law implicates a religious entity’s

       ability to carry out its faith-based policies. ASCI Br. at 10-11.

             This patently misstates the law. If St. Dominic is ever excluded, it might be

       because it became ineligible for failing to act in compliance with a neutral and

       generally applicable law designed to ensure an optimal educational environment

       for all students in schools supported by public funds. Maine, however, does

       nothing that categorically excludes religious schools, which is exactly—and

       only—what Carson forbids. As the State has noted, a Maine Jesuit Catholic high

       school currently participates in the tuitioning program. See Appellees’ Br. at 5, 13-

       14.

             Yet ACSI now would like the law to be different: if a religious school feels it

       cannot comply with a neutral and generally applicable law because of its religious

       beliefs, then the law must violate Carson and the Free Exercise Clause. But that

       cannot be. Carson certainly says no such thing. To accept ACSI’s position is to gut


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       Smith of all meaning—which of course is precisely what ACSI desires. But it

       cannot simply pretend that that is the law of Carson. Despite multiple entreaties to

       the Supreme Court to overturn Smith, it remains the law in cases like this. See, e.g.,

       Fulton v. City of Philadelphia, Pa., 593 U.S. 522 (2021).

             Not satisfied that otherwise eligible religious schools are now free of any

       categorical exclusion from public benefit programs, they now seek to be free from

       being treated the same as any other school receiving public funds—to categorically

       avoid obligations—such as nondiscrimination requirements—that every other

       publicly funded school must fulfill. Trinity Lutheran, Espinoza and Carson

       mandated equal treatment, not preferential treatment.

             Appellants’ and ACSI’s novel argument is akin to a Trojan horse. Having

       developed the law that permits religious schools to participate in a taxpayer-funded

       tuition program, the religious schools now would leverage their participant status

       to challenge the applicable rules of the program so that they can discriminate

       against and deny students the very educational benefits the program was enacted to

       provide them. The irony is not lost. But Maine’s generally applicable

       nondiscrimination requirements are not transformed into a categorical exclusion

       targeting religious practice just because these religious schools have now been

       given permission to participate in the program. The MHRA remains applicable to

       every single K-12 school in Maine that is approved to receive government funds


                                                14
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       under the tuitioning program, and as such, receives only rational basis review in

       the face of Appellants’ challenge.

       II.   THE MHRA WOULD SURVIVE STRICT SCRUTINY BECAUSE IT
             IS NARROWLY TAILORED TO MAINE’S COMPELLING
             GOVERNMENT INTERESTS.

             Even if the Court were to apply strict scrutiny to the MHRA, it would

       nonetheless easily survive that heightened level of review because it is “justified

       by a compelling state interest and . . . narrowly tailored in pursuit of that interest.”

       Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 525 (2022) (citing Church of the

       Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 546 (1993)). The

       MHRA furthers multiple compelling governmental interests: (1) it safeguards

       against the unique vulnerabilities of LGBTQ students to discrimination and

       harassment that deprive them of equal educational opportunity; (2) it furthers

       Maine’s constitutional obligation to provide free and equal public education to all

       of Maine’s students; and (3) it furthers Maine’s constitutional obligation not to

       fund and facilitate discrimination against a class of students. Enforcement of these

       nondiscrimination requirements against all schools participating in the state

       tuitioning program is the most narrowly tailored means of fulfilling each of those

       interests. See Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 733 (2014)

       (nondiscrimination laws are “precisely tailored to achieve th[e] critical goal” of

       ensuring equal opportunity).


                                                  15
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             A.     Maine Has A Compelling Interest In Ensuring Equal Educational
                    Opportunity For LGBTQ Students.

             Appellees thoroughly lift up states’ compelling interests in eradicating

       discrimination along a range of invidious lines. Appellees’ Br. at 39-46 (citing

       Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 592, 609 (1982) (ethnicity);

       Roberts v. U.S. Jaycees, 468 U.S. 609, 624 (1984) (sex); Bob Jones Univ. v. United

       States, 461 U.S. 574 (1983) (race). 3 As the Supreme Court has recognized, these

       principles apply with equal force to a government’s interest in protecting LGBTQ

       people from discrimination. See Fulton, 593 U.S. at 542 (noting city’s “weighty”

       interest in “the equal treatment” of LGBTQ prospective foster parents and foster

       children); Masterpiece Cakeshop, Ltd. v. Colo. Civ. Rts. Comm’n, 584 U.S. 617,

       631 (2018) (noting that LGBTQ people “cannot be treated as social outcasts or as

       inferior in dignity and worth” and that “[t]he exercise of their freedom on terms


       3
         Amici take unusual umbrage that the “evils of invidious discrimination,” as used
       in Roberts and Snapp, could be leveled at St. Dominic. ACSI Br. at 18. Their
       offense seemingly arises from the misunderstanding that invidious discrimination
       requires malice or evil intent on the part St. Dominic, rather than describing the
       wholly arbitrary character of the resulting discrimination itself. See Dallas v.
       Stanglin, 490 U.S. 19, 27 (1989). The unfair or unjust effect on students who are
       turned away is what is invidious. Thus, Amici’s attempt to distinguish Roberts and
       Snapp is misguided. Indeed, protecting equal access for all students who are the
       intended beneficiaries of the law against such arbitrary exclusions is legally
       required by equal protection principles. See Plyler v. Doe, 457 U.S. 202, 221–22
       (1982) (“denial of education to some isolated group of children poses an affront to
       one of the goals of the Equal Protection Clause: the abolition of governmental
       barriers presenting unreasonable obstacles to advancement on the basis of
       individual merit.”).

                                                16
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       equal to others must be given great weight and respect by the courts.”); see also

       Emilee Carpenter, LLC v. James, 107 F.4th 92, 111 (2d Cir. 2024) (prohibiting

       sexual orientation discrimination is a compelling state interest); Doe v. Boyertown

       Area Sch. Dist., 897 F.3d 518, 527-28 (3d Cir. 2018) (“preventing discrimination

       against transgender students” is a compelling government interest).4

                 This interest is particularly compelling in the context of education given the

       unique vulnerability of LGBTQ young people to discrimination and harassment in

       schools. The GLSEN National School Climate Survey for 2021 found that 8 in 10

       students surveyed reported feeling unsafe at school because of their sexual

       orientation or gender identity.5 Nearly 60% of respondents had experienced

       LGBTQ-related discriminatory policies or practices at school.6 These findings are



       4
        Appellants attempt to use Fulton to suggest that Maine’s interest in ensuring that
       publicly funded educational institutions do not discriminate is not sufficiently
       specific. Appellants’ Br. at 30. While a general commitment to nondiscrimination
       may not have sufficed to justify denying a religious agency an exemption from a
       nondiscrimination requirement when exemptions were granted for secular reasons,
       Fulton, 593 U.S. at 541-42, it is more than sufficient here. Where the law being
       challenged is neutral and generally applicable and there are no exemptions at all,
       the relevant question is about Maine’s compelling interest in the nondiscrimination
       requirements writ large. An interest in ensuring nondiscriminatory education,
       particularly when being funded with tax dollars, is sufficiently specific and
       compelling.
       5
        Joseph G. Kosciw, et al., The 2021 National School Climate Survey, GLSEN 129
       (2022), https://www.glsen.org/sites/default/files/2022-10/NSCS-2021-Full-
       Report.pdf (“2021 NSCS”).
       6
           Id. at 32.

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       borne out by other researchers as well. One study found that in 2020, 81% of

       LGBTQ students reported verbal harassment, 26% reported physical harassment,

       and 11% reported assault.7 A 2023 report by the Human Rights Campaign found

       that nearly 57% of LGBTQ youth had been verbally or physically harassed at

       school within the previous 30 days.8

             LGBTQ students in Maine are not spared from these trends. The most recent

       Maine Integrated Youth Health Survey (“MIYHS”) showed that over 40% of

       Maine high school students who identified as LGBTQ reported that they were

       targeted by offensive comments or attacks at school based on perceived sexual

       orientation, with nearly 65% of those identifying as gay or lesbian, 39% of those

       identifying as bisexual, and 23% of questioning students having experienced this

       type of verbal and physical harassment. 9 For transgender students, 65.2% reported




       7
         Robert Abreu, et. al., LGBTQ student experiences in schools from 2009-2019: A
       systematic review of study characteristics and recommendations for prevention and
       intervention in school psychology journals, 59(1) PSYCH. IN THE SCHS. 115, 116
       (Jan. 2022).
       8
        Shoshana K. Goldberg, et al., 2023 LGBTQ+ Youth Report, Hum. Rts. Campaign
       Found. (Aug. 2023), https://reports.hrc.org/2023-lgbtq-youth-report.
       9
        Me. Dep’t of Educ. & Me. Dep’t of Health & Hum. Servs., Maine Integrated
       Youth Health Survey, 145 (Oct. 13, 2023),
       https://www.maine.gov/miyhs/sites/default/files/2023_Reports/Detailed_Reports/H
       S/MIYHS2023_Detailed_Reports_HS_State/Maine%20High%20School%20Detail
       ed%20Tables.pdf (“MIYHS”).

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       comments and attacks based on perceived gender identity. 10 LGBTQ students

       reported nearly twice the incidence of being bullied or being threatened or injured

       with a weapon on school property in the last twelve months and more than twice as

       likely to have offensive sexual comments made to them at school than heterosexual

       and cisgender students. 11 Over 15% of LGBTQ high school students reported

       missing at least one day of school in the previous thirty days because they felt

       unsafe at school.12

                Discriminatory policies and practices harm LGBTQ students deeply and

       prevent them from fully and completely participating in the school community.13

       They can also have serious consequences both for students’ academic success and

       their general well-being.14

                LGBTQ+ students who experienced frequent harassment and assault
                based on their sexual orientation or gender expression reported missing
                more days of school, having lower GPAs, lower educational aspirations,
                and higher rates of school discipline than students who were harassed
                less often. In addition, students who experienced higher levels of

       10
            Id. at 150.
       11
            Id. at 92, 155, 160.
       12
            Id. at 95.
       13
            2021 NSCS at 33.
       14
         See Tecelli Domínguez-Martínez & Rebeca Robles, Preventing Transphobic
       Bullying and Promoting Inclusive Educational Environments: Literature Review
       and Implementing Recommendations, 50 ARCHIVES OF MED. RSCH. 543 (Nov.
       2019) (noting serious, long-term consequences of anti-LGBTQ discrimination,
       harassment, and bullying for a student’s educational outcomes, including poorer
       academic performance and absenteeism).

                                                  19
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             victimization felt less connected to their school community and had
             poorer psychological well-being, including a higher likelihood of
             suicidal ideation. LGBTQ+ students who reported experiencing anti-
             LGBTQ+ discrimination at school also had worse educational
             outcomes, including missing more days of school, lower GPAs, and
             lower educational aspirations, and were more likely to be disciplined at
             school, than students who did not experience anti-LGBTQ+
             discrimination. Furthermore, students who experienced anti-LGBTQ+
             discrimination also felt less connected to their school community and
             had poorer psychological well-being.15

       Stress from discrimination, bullying, harassment, and violence heighten the already

       disproportionate risks experienced by LGBTQ youth of being victims of violence,

       using risky substances, and of suicide and poor mental health outcomes. 16 This is

       borne out by the MIYHS, which found that LGBTQ youth are more than three

       times more likely to have seriously considered or attempted to take their own lives

       in the last 12 months as compared to non-LGBTQ youth, with nearly 30% of




       15
         2021 NSCS at 130; see also The Trevor Project, Anti-LGBTQ+ School Policies
       and LGBTQ+ Young People (Aug. 21, 2024),
       https://www.thetrevorproject.org/research-briefs/anti-lgbtq-school-policies-and-
       lgbtq-young-people/ (finding that LGBTQ students at schools with policies hostile
       to them are more likely to be chronically absent, to experience anxiety and
       depression, and to experience suicidal ideation or attempt suicide) (“Trevor Project
       2024”).
       16
         Wojciech Kaczkowski, et al., Examining the Relationship Between LGBTQ-
       Supportive School Health Policies and Practices and Psychosocial Health
       Outcomes of Lesbian, Gay, Bisexual, and Heterosexual Students, 9(1) LGBT
       HEALTH 43 (Jan. 2022).

                                               20
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       Maine’s transgender high school students having attempted suicide in the last year,

       compared to 6.6% of their cisgender peers. 17

                Ensuring nondiscrimination and supportive environments for LGBTQ

       students can have a dramatic effect on their well-being.18 LGBTQ youth in school

       districts with affirming policies report more school belonging, more support from

       staff, and the students are more likely to report any harassment.19 Research shows

       that LGBTQ students whose schools protect them in some way experience a 26%

       reduction in suicidality. 20 Nondiscrimination laws and other protective policies for

       LGBTQ youth at the state level have a similar effect.21 More generally, schools

       and school districts with inclusive policies have been shown to provide better

       environments for all students to thrive. 22 According to the Centers for Disease


       17
            MIYHS at 190, 198.
       18
         The Trevor Project, School-Related Protective Factors for LGBTQ Middle and
       High School Students (Aug. 24, 2023), https://www.thetrevorproject.org/research-
       briefs/school-related-protective-factors-for-lgbtq-middle-and-high-school-students-
       aug-2023/.
       19
         Xavier Fields & Christine Min Wotipka, Effect of LGBT Anti-Discrimination
       Laws on School Climate and Outcomes for Lesbian, Gay, and Bisexual High
       School Students, 19(3) J. OF LGBT YOUTH 309, 314 (2022).
       20
            Trevor Project (2024).
        Jennifer Pearson et al., State-Level Policy, School Victimization, and Suicide Risk
       21

       Among Sexual Minority Youth, 21 SEXUAL AND GENDER MINORITY HEALTH:
       ADVANCES IN MED. SOCIOLOGY 65 (2021).
       22
         Ctrs. For Disease Control, Inclusive Practices Help All Students Thrive (June 27,
       2022), https://www.cdc.gov/healthyyouth/safe-supportive-environments/LGBTQ-
       policies-practices.htm.

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       Control, schools that implement LGBTQ-affirmative policies see benefits for all

       students, including less harassment, less suicidality, and less distress overall.23

                  At the state level, nondiscrimination laws play a critical role in supporting

       the wellbeing of LGBTQ youth by creating the foundation for antidiscrimination

       policies at the school and district level to flourish. These laws decrease the

       incidence of bullying and discrimination, helping to set the ground rules that

       recognize LGBTQ youth as full members of the school community and improving

       mental health outcomes, especially for students attending schools that do not have

       school-level antidiscrimination policies. 24 These laws communicate that LGBTQ

       students belong and deserve equal treatment at school just like others, making

       students feel safer and improving their academic outcomes. 25

                  The MHRA’s protections were enacted to prevent and redress discrimination

       in schools that rob Maine’s students of equal educational opportunity. Barring

       discrimination by and in schools participating in the tuitioning program furthers




       23
            Id.
       24
            Pearson, at 70, 95.
       25
            Id. at 95-96; Fields, at 320-322.

                                                     22
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       Maine’s interest in protecting all students, including LGBTQ students from the

       harms of discrimination in educational settings. 26

             B.     Maine Has A Compelling Interest In Furthering Its Constitutional
                    Obligation To Provide Free And Equal Public Education.

             The state’s commitment to ensuring equal educational opportunity for

       LGBTQ students is further supported by its express constitutional obligation to

       support and maintain public schools—an obligation that recognizes that a “general

       diffusion of the advantages of education” is “essential to the preservation of the

       rights and liberties of the people.” Me. Const. Art VIII, pt. 1, §1. This is a

       compelling interest to be assured for all Mainers. See Beckett v. Roderick, 251 A.2d

       427, 432 (Me. 1969) (Art VIII establishes “the fundamental public policy” of

       ensuring access to education); Shaw v. Small, 124 Me. 36, 125 A. 496, 498 (1924)

       (Art. VIII means “that free public school privileges should be somewhere open to

       all children living in any town in the state”); Sawyer v. Gilmore, 109 Me. 169, 83

       A. 673, 679 (1912) (“No subject was dearer to the hearts of the framers of our

       Constitution than that of education, recognizing as they did that it lies at the very

       foundation of good government.”).



       26
         Given the prevalence of this discrimination against LGBTQ students in schools
       and the improvements in school environments and educational outcomes where
       protections are in place, Maine’s compelling interest here is both “measurable and
       concrete.” Students for Fair Admissions, Inc. v. President & Fellows of Harvard
       Coll., 600 U.S. 181, 217 (2023).

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             Maine’s “interest is not simply an interest in education but an interest in the

       quality of education.” Blount v. Dep’t of Educ. & Cultural Servs., 551 A.2d 1377,

       1381 (Me. 1988); id. (“It would eviscerate the State’s interest in education to

       restrict it to assuring the mere physical presence of school children in some facility

       purporting to be a classroom”). To that end, Maine has an interest—indeed, a

       compelling one—to see that its taxpayer funds are used to create and maintain

       school environments that are conducive to the best educational learning experience

       for every student, regardless of race, color, sex, disability, national origin, ethnicity,

       religion, sexual orientation and gender identity. See 5 M.R.S. §4602(1). Permitting

       discrimination in the context of the program designed to carry out this

       constitutional commitment would deprive some students of the same range of

       publicly-funded educational opportunities their peers can access and could “result[]

       in [] students receiving an inadequate education.” Sch. Admin. Dist. No. 1 v.

       Comm’r, Dep’t of Educ., 659 A.2d 854, 857 (Me. 1995). As described above and

       as recognized by countless courts, subjecting students to discrimination because of

       an aspect of their identity diminishes the quality of education and “generates a

       feeling of inferiority as to their status in the community that may affect their hearts

       and minds in a way unlikely ever to be undone.” Brown v. Bd. of Ed. of Topeka,

       Shawnee Cnty., Kan., 347 U.S. 483, 494 (1954).




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             Maine’s interest in ensuring free and equal education for all students is

       particularly acute in the context of a program that explicitly turns on the lack of

       availability of a public school in the place where these students live. The tuitioning

       program is intended to fill the gaps only when local school administrative units do

       not operate a public school and have not contracted with another school for that

       child’s grade. See 20-A M.R.S. §§5203(4); 5204(4). The students participating in

       this program—particularly those in more isolated areas—already lack the most

       straightforward paths to accessing publicly funded K-12 education. The state’s

       interest in ensuring that discrimination does not limit other paths is undoubtedly

       compelling.

             C.      Maine has a Compelling Interest in Ensuring that it is Neither
                     Funding nor Facilitating Discrimination.
             Finally, Maine has an independent obligation under the Equal Protection

       Clause to ensure that taxpayer dollars are not being used to exclude a class of

       citizens from a public program. Because “the Constitution does not permit the

       State to aid discrimination” by private entities, a State may not provide financial

       aid “if that aid has a significant tendency to facilitate, reinforce, and support

       private discrimination.” Norwood v. Harrison, 413 U.S. 455, 465–66 (1973). See

       also Gilmore v. City of Montgomery, 417 U.S. 556, 568–69 (1974) (“tangible state

       assistance” to private organizations engaging in discrimination “is constitutionally

       prohibited” as Equal Protection requires the state “‘to steer clear…of giving

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       significant aid to institutions that practice racial or other invidious

       discrimination.’”) (quoting Norwood, 413 U.S. at 466). Maine is constrained by

       Equal Protection principles from “directly or indirectly” giving effect to private

       biases. Palmore v. Sidoti, 466 U.S. 429, 433 (1984).

             The MHRA’s nondiscrimination requirements for schools receiving taxpayer

       dollars ensure that Maine does not “place[] its power, property, and prestige behind

       [] admitted discrimination.” Burton v. Wilmington Parking Auth., 365 U.S. 715,

       725 (1961) (by leasing property to discriminatory entity, city unconstitutionally

       “place[d] its power, property and prestige behind the admitted discrimination”).

       They unquestionably further Maine’s “compelling interest in assuring that public

       dollars, drawn from the tax contributions of all citizens, do not serve to finance the

       evil of private prejudice.” City of Richmond v. J.A. Croson Co., 488 U.S. 469, 492

       (1989).

             D.     Requiring Compliance With The MHRA By Schools In The State
                    Tuitioning Program Is The Most Narrowly Tailored Means Of
                    Furthering Maine’s Compelling Interests.

             Having established the compelling interests that justify the MHRA’s

       nondiscrimination requirements for schools approved to receive tax dollars in the

       tuitioning program, the next inquiry is whether the MHRA is narrowly tailored in

       pursuit of those interests. Kennedy, 597 U.S. at 525. It unquestionably is.

       Enforcing the MHRA is the most precise way to further Maine’s interests. “Where


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       the government has developed a comprehensive scheme to effectuate its goal of

       eradicating discrimination…, it makes sense that the only way to achieve the

       scheme’s objectives is through its enforcement.” Equal Emp. Opportunity Comm’n

       v. R.G. &. G.R. Harris Funeral Homes, Inc., 884 F.3d 560, 596 (6th Cir. 2018),

       aff’d sub nom. Bostock v. Clayton Cnty., Georgia, 590 U.S. 644 (2020). Maine

       need not show more when, as Justice Alito wrote in Hobby Lobby, 573 U.S. at 733,

       “prohibitions on [] discrimination are precisely tailored to achieve th[e] critical

       goal” of “providing an equal opportunity to participate” in Maine’s publicly funded

       K-12 schools.

                                         CONCLUSION
             When a state permits private entities to receive taxpayer dollars to fulfill the

       state’s commitment to providing free public education, applying nondiscrimination

       requirements is not only neutral and generally applicable, but critical. The MHRA’s

       application to all schools participating in the state’s tuitioning program in no way

       targets religious schools for exclusion. Instead, it fulfills Maine’s promise of equal

       educational opportunity to all students across the state, including LGBTQ students,

       and ensures that Maine is not funding or facilitating discriminatory learning

       environments. For the reasons set forth herein, Amici urge the Court to affirm the

       district court’s order denying Appellants’ request for a preliminary injunction.




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                                 CERTIFICATE OF SERVICE
             I hereby certify that on November 14, 2024, I electronically filed this Amici

       Curiae Brief with the Clerk of Court using the CM/ECF system, which will send

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